               Case 3:07-cr-00765-MHP Document 244 Filed 12/17/10 Page 1 of 3



1    JEANE HAMILTON (CA State Bar No. 157834)
     DAVID J. WARD (CA State Bar No. 239504)
2    RICHARD B. COHEN (CA State Bar No. 79601)
     ANNA TRYON PLETCHER (CA State Bar No. 239730)
3
     Department of Justice, Antitrust Division
4    450 Golden Gate Avenue, Box 36046
     San Francisco, California 94102
5    Telephone: (415) 436-6660
     Facsimile: (415) 436-6687
6    Email: jeane.hamilton@usdoj.gov
7    Attorneys for the United States
8
                                     UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,                    )         No. CR 07-0765 MHP
                                                  )
13            Plaintiff,                          )
                                                  )
14       v.                                       )         DECLARATION OF RICHARD
                                                  )         COHEN
15                                                )
     MENDEL BEKER,                                )
16     a.k.a. Mikhail Lvovich,                    )
       a.k.a. Michael Beker,                      )
17   ARIE PRILIK and                              )
     NEWCON INTERNATIONAL LTD.                    )
18                                                )
              Defendants.                         )
19                                                )
20
21   I, Richard Cohen, declare as follows:
22       1. I am a Trial Attorney for the U.S. Department of Justice, Antitrust Division and am
23   assigned to the prosecution of the above-captioned case. I have reviewed documents received
24   from TACOM related to the supply of night vision goggles required under the Battalion Set II
25   (Bat II) Contract, and the September 28 and 29, 2010 interview notes of the interviews of Jeffery
26   Bean. I submit this Declaration in support of the United States’ Motion to Exclude Defense
27   Witness Testimony.
28       2. On July 1, 2005, Raymond Stefanik, a project leader for the Night Vision and Electronic

     Cohen Declaration for Motion to Exclude
     [CR 07-0765 MHP]                                 -1-
               Case 3:07-cr-00765-MHP Document 244 Filed 12/17/10 Page 2 of 3



1    Sensor Directorate (”NVESD”), sent an e-mail to McAleer. The e-mail is attached as Exhibit A.
2    The e-mail summarized discussions NVESD personnel had with ATN representatives concerning
3    two tests of ATN’s goggles. The results of those tests were attached to the e-mail.
4         2. On March 8, 2005, TACOM’s Derek McAleer received a letter from Byron Harding, the
5    then President of NiViSys Industries LLC. The letter is attached to this Declaration as Exhibit B.
6    The letter sets out NiViSys’ relationship with the Bat II prime contractor, ITE, relating to a
7    subcontract for the supply of goggles for the Bat II contract. The letter states why Harding
8    believes ATN could not supply goggles that meet the Bat II contract quality requirements.
9    TACOM’s documents do not show any further contact between Harding and TACOM related to
10   the quality of ATN’s goggles.
11        3. On September 28, 2010, Jeffrey Bean was interviewed. The Interview notes are attached
12   as Exhibit C. During his interview he stated that in 2005 he worked for TACOM as a contract
13   specialist. His responsibilities included administration of the Bat II contract. He stated that he
14   participated in the decision to test ATN’s goggles to determine if they met the Bat II contract
15   requirements. He saw the results of the two tests conducted by the NVESD on ATN’s goggles.
16   In late June and early July 2005 he participated in the decision to continue to accept ATN
17   goggles for the Bat II contract, even though, because of those test results, there was a question as
18   to whether ATN’s goggles met the Bat II contract quality requirements.
19        4. Attached to this Declaration are true copies of the following documents cited in the
20   United States Motion to Exclude Defense Witness Testimony:
21           Exhibit D: Hearing Transcript (Partial), United States v. Beker et. al., October 12, 2010.
22           Exhibit E: Hearing Transcript, United States v. Beker et. al., October 28, 2010.
23           Exhibit F: Hearing Transcript, United States v. Beker et. al., November 17, 2010.
24   //
25   //
26   //
27   //
28   //

     Cohen Declaration for Motion to Exclude
     [CR 07-0765 MHP]                                 -2-
               Case 3:07-cr-00765-MHP Document 244 Filed 12/17/10 Page 3 of 3



1        I have read the foregoing and declare under penalty of perjury that it is true and correct to the
2    best of my knowledge and belief. This Declaration was executed in San Francisco on December
3    17, 2010.
4
5                                                   ________/s/___________________
                                                    RICHARD COHEN
6                                                   Trial Attorney
                                                    Department of Justice, Antitrust Division
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Cohen Declaration for Motion to Exclude
     [CR 07-0765 MHP]                                 -3-
